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AO 442 (Rev. 01/09) Arrest Warrant



                                          UNITED STATES DISTRICT COURT
                                                                     for the
                                                                District of Maine

                      United States of America                         )
                                 v.                                    )
                         DAVID PHILLIPS                                )        Case No. 1:21-mj-00036-JCN
                                                                       )
                             Defendant                                 )

                                                         ARREST WARRANT
To:       Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)      David Phillips                                                                                         ,
who is accused of an offense or violation based on the following document filed with the court:

’ Indictment               ’ Superseding Indictment           ’ Information         ’ Superseding Information            ✔ Complaint
                                                                                                                         ’
’ Probation Violation Petition                 ’ Supervised Release Violation Petition       ’ Violation Notice          ’ Order of the Court

This offense is briefly described as follows:

  18 USC Sections 922g1 and 924a2: Possession of Ammunition by Felon.




                                  Feb 10, 2021,10:37 am




                                                                     Return

          This warrant was received on (date)                              , and the person was arrested on (date)
at (city and state)                                              .

Date:
                                                                                             Arresting officer’s signature



                                                                                                Printed name and title
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